           Case 1:20-mj-01130-LF Document 8 Filed 06/05/20 Page 1 of 1



                                                                                             'mamffiffinru*
                                                                                                                                o 5 zozo
                          {Jxmnn Srarns Dlsrnlcr Counr
                                                    for the
                                           District of New Mexico


         United Stnter of Arnerica

                     v,

        Derek Nicholas Padilla                                                      Case      No. 20-MJ-1130 LF
                 DeJ'endunt



                          }VAIVER OT PIRSONAL PRESENCE AT HIARING

        ,, Derek     Nicholas Padilla                        Defendant, understand that I am scheduled for

, Initial Appearance                                hearing on   A6lA5l207A
                                                                                                  *
        nnture of he*ring                                            date

        I undenitand that I may appear by video for this proceeding. I hereby ask to be permitted to

appcar for the hearing by video, and waive my riglrt to be personally present for this lrearing.




D"t".06/051202a




                                                   Angelica Hall, AFPD
                                                               Printed nerne a{ delbndtrnt's attorne}

                                                   Angelica_Hall@fd.org
                                                                 Defb n da   n's   iltto r fi e)" I e--tuai   I   erd   iress
